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                    EXHIBIT 2
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                                          UNITED STATES DISTRICT COURT
                                     FOR THE WESTERN DISTRICT OF OKLAHOMA
ENSURETY VENTURES, LLC and EGV COMPANIES, INC.,
     Plaintiffs,
v.                                                                         Case No. CIV-24-78-SLP
COURTNEY SNYDER, a/k/a ANDREW JACKSON, et al.,
     Defendants.
                      SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                        OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
TO:      Records Custodian
         Paylink Payment Plans, LLC d/b/a Paylink Direct
         c/o Registered Agent: CT Corporation System
         208 So LaSalle Street, Suite 814
         Chicago, IL 60604
        ☒Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material which are listed on the attached Exhibit 1.
Place: Durbin, Larimore & Bialick                             Date and Time: Within fourteen (14) days of receipt
       920 North Harvey
       Oklahoma City, OK 73102
         ☐Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may
inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
Place:                                                        Date and Time:

         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance; Rule
45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond
to this subpoena and the potential consequences of not doing so.
         Date: November 27, 2024

CLERK OF COURT
                                                            OR
                                                                 s/R. Ryan Deligans
Signature of Clerk or Deputy Clerk                               Attorney's Signature

        The name, address, e-mail address, and telephone number of the attorneys representing Defendants Courtney
Snyder, a/k/a Andrew Jackson, Natasha Snyder, Alan McCalip, Autobanc, LLC, Gold Key Warranty, LLC, d/b/a Consumer
Care Direct, Final Yard Consulting, LLC, and Desert Consulting Group, LLC, who issue or request this subpoena are:
R. Ryan Deligans, Lane R. Neal and Lauren N. Lenahan, Durbin, Larimore & Bialick, 920 N. Harvey, Oklahoma City, OK
73102; Telephone: 405/235-9584; E-Mail: dlb@dlb.net
                               Notice to the person who issues or requests this subpoena
        A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).




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Civil Action No. CIV-24-78-SLP

                                                   PROOF OF SERVICE
                   (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)

on (date)                           .

            ☐ I served the subpoena by delivering a copy to the named individual as follows:



                                           on (date)                               ; or

            ☐ I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amount of
            $__________________.

My fees are $                              for travel and $                        for services, for a total of $

            I declare under penalty of perjury that this information is true.

Date:
                                                                                                  Server's Signature


                                                                                                Printed name and title


                                                                                                   Server's address

            Additional information regarding attempted service, etc:




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 AO 88 (Rev. 12/13) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)

                         Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert's opinion or information that does not
(1) For a Trial, Hearing, or Deposition. A subpoena may command a                       describe specific occurrences in dispute and results from the expert's study
person to attend a trial, hearing, or deposition only as follows:                       that was not requested by a party.
(A)      within 100 miles of where the person resides, is employed, or                  (C) Specking Conditions as an Alternative. In the circumstances described
regularly transacts business in person; or                                              in Rule 45(d)(3)(B), the court may, instead of quashing or modifying a
(B)      within the state where the person resides, is employed, or                     subpoena, order appearance or production under specified conditions if the
regularly transacts business in person, if the person                                   serving party:
(i)      is a party or a party's officer; or                                            (i)       shows a substantial need for the testimony or material that cannot
(ii)     is commanded to attend a trial and would not incur substantial                 be otherwise met without undue hardship; and
expense.                                                                                (ii)      ensures that the subpoenaed person will be reasonably
(2) For Other Discovery. A subpoena may command:                                        compensated.
(A)      production of documents, electronically stored information, or                 (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is             (1) Producing Documents or Electronically Stored Information. These
employed, or regularly transacts business in person; and                                procedures apply to producing documents or electronically stored
(B)      inspection of premises at the premises to be inspected.                        information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                             (A) Documents. A person responding to a subpoena to produce
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                    documents must produce them as they are kept in the ordinary course of
responsible for issuing and serving a subpoena must take reasonable steps               business or must organize and label them to correspond to the categories in
to avoid imposing undue burden or expense on a person subject to the                    the demand.
subpoena. The court for the district where compliance is required must                  (B) Form for Producing Electronically Stored Information Not
enforce this duty and impose an appropriate sanction—which may include                  Specified. If a subpoena does not specify a form for producing
lost earnings and reasonable attorney's fees—on a party or attorney who                 electronically stored information, the person responding must produce it in
fails to comply.                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
(2) Command to Produce Materials or Permit Inspection.                                  usable form or forms.
(A)      Appearance Not Required. A person commanded to produce                         (C) Electronically Stored Information Produced in Only One Form.
documents, electronically stored information, or tangible things, or to                 The person responding need not produce the same electronically stored
permit the inspection of premises, need not appear in person at the place               information in more than one form.
of production or inspection unless also commanded to appear for a                       (D) Inaccessible Electronically Stored Information. The person
deposition, hearing, or trial.                                                          responding need not provide discovery of electronically stored information
(B)      Objections. A person commanded to produce documents or                         from sources that the person identifies as not reasonably accessible
tangible things or to permit inspection may serve on the party or attorney              because of undue burden or cost. On motion to compel discovery or for a
designated in the subpoena a written objection to inspecting, copying,                  protective order, the person responding must show that the information is
testing, or sampling any or all of the materials or to inspecting the                   not reasonably accessible because of undue burden or cost. If that showing
premises—or to producing electronically stored information in the form or               is made, the court may nonetheless order discovery from such sources if
forms requested. The objection must be served before the earlier of the                 the requesting party shows good cause, considering the limitations of Rule
time specified for compliance or 14 days after the subpoena is served. If an            26(b)(2)(C). The court may specify conditions for the discovery.
objection is made, the following rules apply:                                           (2) Claiming Privilege or Protection.
(i)      At any time, on notice to the commanded person, the serving                    (A) Information Withheld. A person withholding subpoenaed information
party may move the court for the district where compliance is required                  under a claim that it is privileged or subject to protection as trial-
for an order compelling production or inspection.                                       preparation material must:
(ii)     These acts may be required only as directed in the order, and the              (i)     expressly make the claim; and
order must protect a person who is neither a party nor a party's officer                (ii) describe the nature of the withheld documents, communications, or
from significant expense resulting from compliance.                                     tangible things in a manner that, without revealing information itself
(3) Quashing or Modifying a Subpoena.                                                   privileged or protected, will enable the parties to assess the claim.
(A) When Required. On timely motion, the court for the district where                   (B) Information Produced. If information produced in response to a
compliance is required must quash or modify a subpoena that:                            subpoena is subject to a claim of privilege or of protection as trial-
(i)         fails to allow a reasonable time to comply;                                 preparation material, the person making the claim may notify any party that
(ii)        requires a person to comply beyond the geographical limits                  received the information of the claim and the basis for it. After being
specified in Rule 45(c);                                                                notified, a party must promptly return, sequester, or destroy the specified
(iii)       requires disclosure of privileged or other protected matter, if no          information and any copies it has; must not use or disclose the information
exception or waiver applies; or                                                         until the claim is resolved; must take reasonable steps to retrieve the
(iv)        subjects a person to undue burden.                                          information if the party disclosed it before being notified; and may
(B) When Permitted. To protect a person subject to or affected by a                     promptly present the information under seal to the court for the district
subpoena, the court for the district where compliance is required may, on               where compliance is required for a determination of the claim. The person
motion, quash or modify the subpoena if it requires:                                    who produced the information must preserve the information until the
(i) disclosing a trade secret or other confidential research, development, or           claim is resolved.
commercial information; or                                                              (g) Contempt.
                                                                                        The court for the district where compliance is required—and also, after a
                                                                                        motion is transferred, the issuing court—may hold in contempt a person
                                                                                        who, having been served, fails without adequate excuse to obey the
                                                                                        subpoena or an order related to it.



                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                            EXHIBIT 1

        Definitions:

        The following definitions shall apply to all Document Requests:

        1.     The term “Lawsuit” shall mean and refer to Case No. CIV-24-78-SLP, styled
Ensurety Ventures, LLC and EGV Companies, Inc. v. Courtney Snyder, a/k/a Andrew Jackson,
Natasha Snyder, Alan McCalip, AutoBanc, LLC., Gold Key Warranty, LLC. d/b/a Consumer Care
Direct, National Administrative Service Co, LLC., Final Yard Consulting, LLC., Desert Consulting
Group, LLC, pending in the United States District Court for the Western District of Oklahoma.

       2.      The term “Plaintiff” or “EGV” shall mean and refer to Ensurety Ventures, LLC.,
EGV Companies, Inc., Patrick J. O’Brien, and Brian P. Fox and its employees, agents and
representatives.

        3.      The term "Person" means any natural person, corporation, firm, association,
partnership, joint venture, proprietorship, governmental body or agency or instrumentality, or any
other organization, business or legal entity.

        4.     The term “VSC” shall mean and refer to vehicle service contract.

        5.      The term “Seller” or “Call Center” shall mean and refer to the entity or person who
originated the sale of a vehicle service contract.

       6.      The term “Respondent,” “you,” or “your” shall mean and refer to the non-party
upon whom this subpoena duces tecum and request for documents was served, its employees,
agents and representatives.

        7.     The term “Plaintiff VSC” shall mean and refer to any vehicle service contract
and/or vehicle service contract program administered by or on behalf of any of the Plaintiffs,
Patrick J. O’Brien, and Brian P. Fox including without limitation, EGV Companies, Inc., marketed
or sold under various names including Omega Autocare, Auto Knight, and Mechanic’s Choice.

       8.      The term “Plaintiffs Call Center” shall mean and refer to any call center owned or
operated, in whole or in part, by or on behalf of any of the Plaintiffs, including without limitation,
EGV Companies, Inc., Patrick J. O’Brien, and Brian P. Fox.

       9.      The term “Plaintiffs Campaign” shall mean and refer to any and all direct marketing
campaigns, whether written or telephone, designed, implemented or undertaken by Respondent on
behalf of any of the Plaintiffs, Patrick J. O’Brien and Brian P. Fox for the purpose of marketing
vehicle service contracts to consumers.

        10.     The term “Plaintiffs Campaign Recipients” shall mean and refer to the following
for each consumer or other person whom Respondent, on behalf of any of the Plaintiffs, Patrick J.
O’Brien or Brian P. Fox contacted, during the Relevant Time Frame, whether in writing or by
telephone, for the purpose of marketing vehicle service contracts, including:



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       a.      The customer’s name;

       b.      The date and method of contacting the customer; and

       c.      Any and all sources of the data regarding the customer, the customer’s vehicle,
               and/or the customer’s existing, expiring, or expired vehicle service contract.

        11.    The term “Relevant Time Frame” shall mean and refer to January 1, 2017 through
the present date.

      12.      The term “Document(s)” shall include data or information that exists in electronic
or magnetic form.

        Documents to be Produced

      1.     The VSC Sales Data for any and all Plaintiff VSCs sold by any Seller during the
Relevant Time Frame. Please produce this data in Excel format.

       2.     The VSC Sales Data for any and all VSCs sold by Sellers during the Relevant Time
Frame. Please produce this data in Excel format.

        3.      Any and all agreements between Respondent and any of the Plaintiffs entered or in
effect during the Relevant Time Frame. Please produce this in .pdf format or in the format in which
the documents are stored in the ordinary course of Respondent’s business.

       4.      Any and all documents reflecting communications with any of the Plaintiffs
regarding the Lawsuit, EGV’s business, and/or EGV’s vehicle service contract customers and/or
program since December 1, 2017. Please produce this in .pdf format or in the format in which the
documents are stored in the ordinary course of Respondent’s business.

       5.      Any and all Vehicle Identification Numbers (VINS) that have existed, been sold,
cancelled, or domiciled in your FINCO system from 06/2017-11/2023 from any and all sellers that
Paylink has received regardless of Administrator, including duplicate customers or customers that
have had more than one contract at a time by different Sellers, VSC Providers or Administrators.
Please produce in .CSV format.




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